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                    EXHIBIT E
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               SAN JOSE DIVISION

 IN RE: FUTURE MOTION, INC.                          Case No. 5:23-md-03087-BLF
 PRODUCTS LIABILITY LITIGATION
                                                     MDL No. 3087



             DECLARATION OF ELI HARE FOR APPOINTMENT TO THE
                    PLAINTIFFS’ EXECUTIVE COMMITTEE

       I, Eli Joseph Hare, declare as follows:

       I am a partner at the law firm DiCello Levitt LLP (“DiCello Levitt”), where I am a member

of the firm’s Mass Tort litigation practice group.

       In addition to DiCello Levitt’s Mass Tort practice group, I also represent individuals in

high-profile civil rights cases and am a member of the firm’s public client, employment, and trial

practice groups.

       Along with working as a part a large internal team at DiCello Levitt, I also have developed

working relationships with dozens of law firms across multiple multidistrict litigations (“MDLs”)

and complex cases nationwide. These experiences have allowed me to develop an ability to

organize, lead others, and communicate effectively in high stakes situations.

       I am very involved in several of our firm’s multidistrict and complex litigation.

Specifically, in In re: Abbott Laboratories, et al., Preterm Infant Nutrition Prods. Liab. Litig.,

MDL No. 3026 (N.D. Ill.) I co-manage a document review team of over 65 attorneys and work

closely with the Discovery Committee, in which role I have participated in numerous depositions

and have personally taken depositions of several key witnesses; in In Re: Paraquat Prods. Liab.

Litig., MDL No. 3004 (S.D. Ill.) I have participated in preparations and depositions of experts and

potential bellwether plaintiffs; in In re Proton-Pump Inhibitor Prods. Liab. Litig., MDL No. 2789
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(D.N.J.) I have participated in preparations and depositions of corporate representatives; and in In

Re: Smith & Nephew Birmingham Hip Resurfacing (BHR) Hip Implant Prods. Liab. Litig., MDL

No. 2775 (D. Md.) I have briefed several Daubert motions. I also handle various matters in our

firm’s representation of more than 50 cities and counties in In Re: Nat’l Prescription Opiate Litig.,

MDL No. 2804 (N.D. Ohio) and In Re: McKinsey & Co., Inc. Nat’l Prescription Opiate Litig.,

MDL No. 2996 (N.D. Cal.). Through my work on each of these MDLs, I collaborate with several

attorneys through various law firms across the country to achieve common goals.

          I have only recently been granted my first court-appointed leadership role, which came in

In re: Hair Relaxer Marketing, Sales Practices, and Prods. Liab. Litig., MDL No. 3060 (N.D. Ill.),

where I serve as a member of the Leadership Development Committee (“LDC”). In that litigation,

I personally conducted over two years researching medical journals and scientific articles

connecting Defendants’ products to injuries to the female reproductive system and was

instrumental in the drafting and filing of the first Hair Relaxer complaint1 which led to the

development of MDL 3060. Since my appointment to the LDC, I have continued to contribute my

efforts by working with the Science Committee to vet and retain experts, working with the

Discovery Committee to lead the management of responding to defendants’ deficiency letters

pertaining to Plaintiff Fact Sheets, working with the Bankruptcy Committee to navigate issues

around defendant Revlon’s bankruptcy filing, and working with Co-Leads to assist with legal

strategies in furtherance of the litigation. In addition to the above, I have also had the opportunity

to work closely with several other talented attorneys and law firms through my work in MDL 3060,

including attorneys Rene Rocha and Cameron Bell who are actively involved in this litigation.




1
    Jenny Mitchell v. L’Oréal et al., Case No. 22-cv-05815 (N.D. Ill.)

                                                       2
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        DiCello Levitt support and invest in this litigation in supporting me as a member of the

Plaintiffs’ Executive Committee. A national plaintiffs’ trial firm, Chicago-based DiCello Levitt—

with close to 70 attorneys in five cities across the United States—has received many accolades,

including      top   ratings   and   reviews   from     Chambers      and    Partners,    Benchmark

Litigation, Lawdragon, and Public Justice’s “Trial Lawyer of the Year” award. Assembled from

some of the country’s top complex litigators, DiCello Levitt has extensive MDL, product liability,

mass tort, class action, and complex litigation, and trial experience. DiCello Levitt’s attorneys have

led, or are presently leading, more than 40 MDLs and, in its close to six years of existence, the

firm has recovered more than $20 billion for its clients. DiCello Levitt’s practice also includes in-

house focus group and mock trial programs. In all, DiCello Levitt has obtained jury verdicts of

more than $200 million in the past few years alone, and has successfully led—and is currently

leading—some of the largest and most complex nationwide class actions and commercial

litigations.

        Serving as a member of the Plaintiffs’ Executive Committee in this litigation will require

experience, dedication, extensive resources, the ability to work with many plaintiff-side and

defense-side firms, and a commitment to seeing it through to its successful conclusion. As

confirmed by my above-described experience and credentials, I am well-suited to help lead that

charge and I would be honored to be appointed to do so.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 23rd day of February, 2024, at Birmingham, Alabama.


                                                       /s/ Eli J. Hare________________
                                                        Eli Joseph Hare




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                                                         Eli J. Hare
         505 20th St. N., Ste. 1500 Birmingham, AL 35203 | (251) 564-4509 | ehare@dicellolevitt.com

Licensed: Alabama, Louisiana, and Florida
Admitted: All Alabama U.S. District Courts; all Louisiana U.S. District Courts; all Florida U.S. District Courts; U.S. Court of Appeals
for the Fifth, Nineth, and Eleventh Circuits; U.S. Court of Federal Claims; United States Supreme Court.

                                                     LEGAL EXPERIENCE
DICELLO LEVITT, LLP                                                                                                   Birmingham, AL
Partner                                                                                                            May 2021 – Present
    • Works in the firm’s Mass Torts, Civil Rights, Personal Injury, Employment Discrimination, and Public Client practice groups.
    • Manages a team of attorneys and staff for hundreds of cases throughout the various practice groups.
    • Daily tasks include strategic development of cases and complex issues, coordinating and developing experts across various
        disciplines, and leading and organizing teams of attorneys to address legal issues faced in various multi-district litigations.
    • Highly involved with every stage of litigation in all cases, including pleadings, briefings, and motion practice; depositions,
        hearings, and oral arguments; trial preparation and trial; and appellate briefing and arguments.

GRANT & EISENHOFER                                                                                            Birmingham, AL
Associate                                                                                            February 2021 – May 2021
    • Worked in the firm’s Civil Rights Litigation group.
    • Worked closely on matters relating to violence and sexual assault in schools; drafted pleadings, motions, appellate briefs,
        various discovery documents, and conducted several depositions.

BURR & FORMAN, LLC                                                                                                         Birmingham, AL
Associate                                                                                                      June 2017 – February 2021
    • Worked in the firm’s Financial Services Litigation group with a practice emphasis in complex commercial litigation, regularly
        representing service industry clients in all aspects of fee-based class action litigation in state and federal courts, including
        drafting motions, briefs, and discovery requests and responses and reviewing discovery.
    • Represented financial institutions throughout the U.S. in all aspects of litigation in state and federal courts, including developing
        case strategy; drafted pleadings, motions, briefs; attending hearings and depositions; and drafting and reviewing discovery
        requests and responses.
    • Represented clients in the waste disposal industry in environmental litigation arising out of claims involving allegations of
        nuisance and trespass based on noise, dust, and toxic chemicals.
    • Worked closely with client in developing a discovery strategy during litigation involving a multi-billion dollar contract dispute
        arising out of a power purchase agreement; additionally assisted in drafting related motions, briefs, and discovery documents.
    • Regularly commended on abilities to negotiate favorable settlements for clients.

LAW OFFICES OF STEPHEN M. WILES, LLC                                                                                 New Orleans, LA
Associate                                                                                                       May 2015 – June 2017
    • Drafted and argued various motions and briefs; drafted contracts; negotiated business transactions; managed firm’s caseload;
        advised clients across various fields of law; negotiated with U.S. Assistant Attorneys on behalf of criminal clients; assisted
        with depositions; assisted with witness and trial preparation; handled appeals up to and including petition for writ to the U.S.
        Supreme Court.


                                                            EDUCATION

TULANE UNIVERSITY SCHOOL OF LAW                                                                                        New Orleans, LA
Juris Doctorate                                                                                                 August 2012 – May 2015
Tulane Maritime Law Journal, Managing Editor

UNIVERSITY OF ALABAMA, UNIVERSITY HONORS COLLEGE                                                                         Tuscaloosa, AL
Major, Political Science | Minor, History                                                                       August 2008 – May 2012
Honors: Cum Laude, University Honors College, Dean’s List, President’s List
UA in Greece Summer Abroad Program, 2010
